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 Attorneys for Defendant The Annex, LLC d/b/a Helm Home


                        IN THE UNITED STATES DISTRICT COURT

                           IN AND FOR THE DISTRICT OF UTAH


 BARCLAY BUTERA DEVELOPMENT
 INC. et al,
                                                     ORDER GRANTING STIPULATED
                         Plaintiffs,                 MOTION SETTING DEADLINE FOR
                                                       DEFENDANT HELM HOME’S
 vs.                                                  RESPONSE TO THE COMPLAINT

 THE ANNEX, LLC, d/b/a HELM HOME
 et al,.
                                                       Civil No. 2:23-CV-00633-HCN-JCB
                         Defendants.
                                                           Judge Howard C. Nielson, Jr.



        Based on the Stipulated Motion Setting Deadline for Defendant Helm Home’s Response

 to the Complaint, in which the parties stipulated to and moved the Court to set a deadline of

 October 13, 2023 for Defendant The Annex, LLC d/b/a Helm Home (“Helm Home”) to serve its

 response to Plaintiffs’ Complaint, and for good cause appearing, the Court hereby ORDERS that
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 the stipulated motion is granted and that Helm Home shall have until and included October 13,

 2023 to file its response to Plaintiffs’ Complaint.

        DATED this _______ day of September 2023.


                                                       BY THE COURT:


                                                       ____________________________


                                                       Judge Howard C. Nielson, Jr.




                                  CERTIFICATE OF SERVICE

        I hereby certify that on September 26, 2023 the foregoing was filed with the Court and

 served upon all counsel of record via the court’s electronic filing system.



                                                        /s/ Angie Stettler
